                  Case 8:17-cv-02748-TDC Document 20 Filed 10/19/17 Page 1 of 3



                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND
                                          (Southern District)

THOMAS ALSTON,                                              *

                       Plaintiff,                           * Civil Action No: 8:17-cv-02748-TDC

             v.                                             *

ABC FINANCIAL SERVICES, INC., et al.,                       *

                       Defendants.                          *

*            *         *       *     *       *      *       *      *       *      *       *      *

                        DEFENDANTS’ CONSOLIDATED MOTION TO DISMISS
                       OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

             Defendants ABC Financial Services Inc. (“ABC”), LMD Gyms, LLC (“LMD”) and

GBG, Inc. (“GBG”) respectfully submit the following consolidated motion (the “Motion”). ABC

respectfully moves pursuant to Federal Rule 12(b)(6) to dismiss Count I of Plaintiff’s Amended

Complaint against it for failure to state a claim upon which relief can be granted. ABC, LMD,

and GBG respectfully move pursuant to Federal Rule 12(b)(6) to dismiss Counts II and III of

Plaintiff’s Amended Complaint against them for failure to state a claim upon which relief can be

granted. In the alternative, ABC, LMD, and GBG respectfully move pursuant to Federal Rule 56

for the entry of summary judgment on their behalf. The Defendants provide the following

reasons in support of the Motion:

             1.        There is no genuine issue of material fact that could preclude summary judgment,

and the Moving Defendants are entitled to judgment as a matter of law.

             2.        The grounds and authority for this Motion are set forth more fully in the attached

Memorandum of Law, which is incorporated herein by reference.




1379962.3 10/19/2017
                  Case 8:17-cv-02748-TDC Document 20 Filed 10/19/17 Page 2 of 3



             WHEREFORE, the Defendants respectfully request that the Court:

             1.        Dismiss Count I as alleged against Defendant ABC Financial Services, Inc. for

failure to state a claim upon which relief can be granted; and

             2.        Dismiss Counts II and III as alleged against ABC Financial Services, Inc., LMD

Gyms, LLC and GBG, Inc. for failure to state a claim upon which relief can be granted; or,

alternatively

             3.        Enter summary judgment in favor of Defendant ABC Financial Services, Inc. on

all Counts and enter summary judgment in favor of Defendants LMD Gyms, LLC and GBG, Inc.

with respect to Counts II and III.

                                                   Respectfully submitted,

 Dated: October 19, 2017                       __/s/ Donald A. Rea________________________
                                               Donald A. Rea (Fed. Bar No. 23194)
                                               Amanda R. Paige (Fed. Bar No. 19121)
                                               SAUL EWING ARNSTEIN & LEHR LLP
                                               500 E. Pratt Street, Suite 800
                                               Baltimore, Maryland 21202
                                               don.rea@saul.com
                                               Direct: (410) 332-8680
                                               amanda.paige@saul.com
                                               Direct: (410) 332-8789

                                               Counsel for Defendants
                                               LMD Gyms, LLC and GBG, Inc.


                                               __/s/ Bradley T Canter_______________________
                                               Bradley T. Canter (Fed. Bar No. 18995)
                                               THE LAW OFFICES OF RONALD S. CANTER LLC
                                               200A Monroe Street, Suite 104
                                               Rockville, Maryland 20850
                                               bcanter@roncanterllc.com
                                               Direct: (301) 424-7490

                                               Counsel for Defendant
                                               ABC Financial Services, Inc.



                                                      2
1379962.3 10/19/2017
                 Case 8:17-cv-02748-TDC Document 20 Filed 10/19/17 Page 3 of 3



                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 19th day of October, 2017, a copy of foregoing

Motion to Dismiss or in the Alternative for Summary Judgment, Memorandum of Law in

Support, and proposed Orders were sent by electronic and first-class mail, postage prepaid, to:

                                Thomas Alston
                                10012 Cedarhollow Lane
                                Largo, Maryland 20774
                                talston@washlegal.com

                                Pro Se Plaintiff




                                                    /s/ Amanda R. Paige________________
                                                    Amanda R. Paige




1379962.3 10/19/2017
